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                       IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

         v.
RYAN TAYLOR NICHOLS,                                              Case No. 21-cr-117

                      Defendant.




            DEFENDANT RYAN NICHOLS’ MOTION TO CONTINUE SENTENCING

       DEFENDANT RYAN NICHOLS, by and through undersigned counsel, respectfully

moves this court to continue Mr. Nichols’s sentencing hearing to the first week of May 2024.

        On Tuesday, February 20, 2024, Undersigned Counsel phoned AUSA Douglas Brasher

and informed the Associate United States Attorney of a need to continue the sentencing hearing

because of unforeseen scheduling complications. Undersigned Counsel suggested the first week

of May 2024 for a continuance. Mr. Brasher informed Undersigned Counsel that he had no

objection to his continuance request.

       Should this Honorable Court grant the instant Motion to Continue, Undersigned Counsel

respectfully proposes the following dates of May 1st, 2nd, or 3rd of 2024 as new dates for

sentencing¾if they please the Court.

       Undersigned respectfully asks this Honorable Court to grant this motion because (1)

Undersigned Counsel needs the continuance, (2) Defendant Ryan Nichols is incarcerated, and

(3) AUSA Brasher has no objections to this continuance request.
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Dated: Brooklyn, NY
       February 22, 2024

                                                          Respectfully submitted,

                                                          /s/ Joseph D. McBride, Esq.
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                                                          Counsel for the Defendant


                                 CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing was electronically served on opposing
                                                counsel on

                                          February 22, 2024

                                  /s/ Joseph D. McBride, Esq.
